                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 1 of 31




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 7                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 8                                             AT SEATTLE
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10     BUNGIE, INC., a Delaware corporation,           Case No. 2:21-cv-1111
               Plaintiff,
11                                                     COMPLAINT
       v.
12
       KUNAL BANSAL, an individual, d/b/a              JURY TRIAL DEMANDED
13     LAVICHEATS.COM; and DOES 1-30,
       inclusive,
14
               Defendants.
15

16          Plaintiff Bungie, Inc. (“Bungie”), for its Complaint against Defendants Kunal Bansal,
17   d/b/a Lavicheats.com, and Does 1 through 30, hereby alleges as follows:
18                                            INTRODUCTION
19          1.       Bungie is the owner of the online, multiplayer first-person shooter video game
20   franchise “Destiny.” Bungie’s most recent chapter in the Destiny franchise—Destiny 2—has
21   been commercially successful and drawn together a strong and enthusiastic community, with
22   tens of millions of Destiny 2 players.
23          2.       Defendants market, promote, distribute, sell and/or support software, known as
24   “cheats” or “hacks”, for use while playing Destiny 2 that give players using Defendants’ cheats
25   an unfair advantage over legitimate players in the Destiny 2 shared world. These cheats devalue
26   the playing experience for Destiny 2 and have caused, and continue to cause, serious and
27   irreparable harm to Bungie.
                                                                                       focal PLLC
       COMPLAINT                                                                 900 1st Ave. S., Suite 201
       (Case No. 2:21-cv-1111) – 1                                              Seattle, Washington 98134
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 2 of 31




 1          3.       Bungie asserts claims against Defendants for trafficking in circumvention devices

 2   under the Digital Millennium Copyright Act, copyright infringement, trademark infringement

 3   and other violations of the Lanham Act, as well as state law claims. Bungie is entitled to

 4   monetary damages and injunctive and equitable relief for Defendants’ serious violations of

 5   Bungie’s rights as described herein.

 6                                            THE PARTIES

 7          4.       Bungie is a corporation formed under the laws of the State of Delaware, with its

 8   principal place of business located in Bellevue, Washington.

 9          5.       Upon information and belief, Defendant Kunal Bansal, a/k/a “Lavi” (“Bansal”

10   and, collectively with the other defendants, “Defendants”), is an individual residing in Bathinda,

11   Punjab, India. Upon information and belief, Bansal is the owner, operator and/or administrator of

12   the Lavicheats website, located at lavicheats.com (the “Lavicheats Website”), and may also act

13   as a moderator on the Lavicheats Website and provide support to Lavicheats customers. Upon

14   information and belief, among other activities, Bansal assists customers in completing the

15   purchase of Lavicheats, responds to customers’ questions and complaints, and actively promotes

16   Lavicheats on other platforms or websites.

17          6.       Upon information and belief, Doe 1 a/k/a “Maximus” is a member of the

18   Lavicheats support staff whose activities include, among other things, managing customer

19   support tickets. Upon information and belief, Maximus also promotes Lavicheats on other

20   platforms or websites.

21          7.       Upon information and belief, Doe 2 a/k/a “Alfred” and/or “ShaktiMaan” is a

22   member of the Lavicheats support staff whose activities include, among other things, managing

23   customer support tickets. Upon information and belief, Alfred/ShaktiMaan also promotes

24   Lavicheats on other platforms or websites.

25          8.       Upon information and belief, Doe 3 a/k/a “Eivor” and/or “Oracle” is a member of

26   the Lavicheats support staff whose activities include, among other things, managing customer

27   support tickets.
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 3 of 31




 1          9.       The true names and capacities, whether individual, corporate, associate,

 2   partnership or otherwise of the remaining Doe defendants are unknown to Bungie at this time,

 3   who therefore sues such defendants by fictious names and aliases. Upon information and belief,

 4   each of the Doe Defendants is legally responsible in some manner for the events and happenings

 5   herein referred to and described. Bungie will seek leave of Court to amend this Complaint to

 6   show the true names and capacities of the Doe Defendants when the same have been ascertained.

 7          10.      Upon information and belief, each of the Defendants was the agent of each of the

 8   other Defendants and, in engaging in the actions alleged herein, was acting within the course and

 9   scope of such agency.

10                                    JURISDICTION AND VENUE

11          11.      This Court has subject matter jurisdiction over this action under

12   28 U.S.C. §§ 1331 and 1338 and 15 U.S.C. § 1121(a) because it alleges, among other claims,

13   violations of the Copyright Act, 17 U.S.C. § 101 et seq., the Lanham Act, 15 U.S.C. § 1051 et

14   seq., and the Digital Millennium Copyright Act, 17 U.S.C. § 1201.

15          12.      This Court has supplemental jurisdiction over Bungie’s related state law claims

16   under 28 U.S.C. § 1367(a) as those claims are so related to the claims under federal law as to

17   form part of the same case or controversy.

18          13.      This Court has personal jurisdiction over Defendants because, as more fully

19   described herein, Defendants have willfully infringed Bungie’s copyrights and trademarks,

20   trafficked in technology that circumvents Bungie’s technological measures that control access to

21   Bungie’s copyrighted Destiny 2 game, engaged in unfair methods of competition and unfair and

22   deceptive acts or practices directed at Bungie, and committed other intentional tortious acts

23   directed to Washington and the United States that have caused Bungie extensive damages. As a

24   result, Defendants have purposefully directed their activities to Washington and the United

25   States. Further, Defendants knew or should have known that their intentional and/or willful acts

26   would cause harm to Bungie in Washington where it is headquartered.

27          14.      Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial
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 1   part of the events or omissions giving rise to the claim occurred, and Bungie’s injuries were

 2   suffered, in this judicial district.

 3                                          FACTUAL ALLEGATIONS

 4                                     Bungie and the Destiny Franchise

 5           15.     Bungie is the developer, distributor, and publisher of the online multiplayer first-

 6   person shooter video game franchise “Destiny.”

 7           16.     Destiny first launched in September 2014 and attracted more than 10 million

 8   players worldwide. The latest iteration of the game, Destiny 2, was first released for consoles

 9   (Sony Playstation 4 and Microsoft Xbox One) in September 2017, and for PCs in October 2017.

10   Since the release of Destiny 2, Bungie has released for sale multiple expansions, or content add-

11   ons, for the game, including the most recent expansion: “Destiny 2: Beyond Light,” released in

12   November 2020.

13           17.     Destiny 2 is an open, shared-world multiplayer game in which players interact

14   with one another. The game offers two main categories of play: “PvE” or player-versus-

15   environment, in which players cooperate to fight against computer-controlled opponents

16   (“NPCs” or non-player characters), and “PvP” or player-versus-player, in which players compete

17   against one another. Players can choose to complete some activities on their own or with a team,

18   but many activities automatically cause players to group up, or may be difficult to complete

19   without “fireteams” of multiple players (e.g., three-player “Strikes” or six-player “Raids”).

20           18.     Destiny 2’s PvP matches are highly competitive and involve rare and highly-

21   sought after “loot” including weapons and armor that impact a player’s progression, as well as

22   rewards and cosmetic options that permit players to show off their success to other players in-

23   game. PvE activities also require skill and coordination among players to complete in order to

24   obtain more powerful or sought-after gear, rewards, and weapons, which in turn affect players’

25   progression and prestige and other aspects of the gameplay experience.

26           19.     The existence of “cheats” or “hacks”—software designed to give players an unfair

27   advantage—has a significant detrimental impact on both types of activities in Destiny 2 by
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 5 of 31




 1   cheapening the experience for legitimate players, undermining the significant time and effort

 2   many players put into developing their skills and the sense of achievement they gain from

 3   conquering difficult challenges through cooperation and skill.

 4          20.      The market for online, first-person shooter games (as well as the broader market

 5   for online, multiplayer games) is highly competitive as players have many games to choose from.

 6   As a result, Destiny 2’s, and therefore Bungie’s, continued success depends upon building long-

 7   term relationships with players by, in part, maintaining the high quality and challenge of the

 8   gameplay experience and regularly releasing new and interesting expansions for Destiny 2.

 9          21.      Because Destiny 2 is a “free-to-play” game, much of Bungie’s revenue is

10   generated by engaging and retaining the long-term interest of players who wish to enhance their

11   Destiny 2 experience by purchasing “virtual goods” (e.g., cosmetic upgrades and other in-game

12   enhancements) or additional content or expansions for the game. This revenue, in turn, enables

13   Bungie to continue to support, update, and develop new content for Destiny 2 to foster and

14   maintain these long-term relationships with Destiny 2 players.

15          22.      The presence of cheats or hacks like Defendants’ Lavicheats for Destiny 2 present

16   a significant and ongoing threat to Bungie’s commercial success. Cheaters gain an unfair

17   advantage by using cheating software. Actual cheating and the mere perception of cheating

18   frustrate players in the PvP modes, which are a significant draw for player retention; but also in

19   the PvE modes, where success against difficult content can yield sought-after loot, rewards, and

20   notoriety. The markers for in-game success (e.g., rare weapons and armor, emblems, and seals,

21   among others) are visible to other players in the shared world and are desirable at least in part

22   due to their scarcity. Defendants’ Lavicheats thus devalue the effort invested by legitimate

23   players and the rewards they would have obtained but for the cheating players, or the rewards

24   that cheating players obtain through illegitimate means. As a result, such legitimate players can

25   and do simply stop playing Destiny 2 in favor of one of the many other available games.

26          23.      Thus, the existence of cheats—including but not limited to Defendants’

27   Lavicheats—causes significant harm to Bungie’s commercial success as well as its more
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 6 of 31




 1   intangible, but no less important, reputation and goodwill in the Destiny 2 community.

 2                           Bungie’s Intellectual Property Rights in Destiny 2

 3          24.      Bungie is the owner of all rights, title and interest in the copyrights in Destiny 2

 4   and all expansions, including but not limited to, the computer software and the audiovisual works

 5   and screen displays that software creates. These copyrights are the subject of U.S. Copyright

 6   Registration Nos. PA 2-280-030, PA 2-282-670, TX 8-933-655, and TX 8-933-658. These

 7   copyrights and the corresponding registrations are referred to herein collectively as the “Destiny

 8   Copyrights.” True and correct copies of the registration certificates for the Destiny Copyrights

 9   are attached hereto as Exhibits 1-4.

10          25.      Bungie is also the owner of numerous trademarks associated with the Destiny

11   franchise, including but not limited to: DESTINY; DESTINY & design (subject of U.S.

12   Registration No. 4,321,315); DESTINY 2; DESTINY 2: LIGHTFALL (subject of U.S.

13   Application Serial No. 88/955,399); DESTINY 2: THE WITCH QUEEN (subject of U.S.

14   Application Serial No. 88/955,395); DESTINY 2: BEYOND LIGHT (subject of U.S.

15   Application Serial No. 88/955,392); and DESTINY GUARDIANS (subject of U.S. Application

16   Serial No. 90/738,891) (collectively, the “DESTINY Marks”).

17          26.      Bungie began using the DESTINY and DESTINY & design marks in commerce

18   at least as early as February 1, 2013, and since that time, Bungie’s use of the marks has been

19   continuous and exclusive in connection with video game software.

20          27.      Bungie’s DESTINY & design mark, the subject of U.S. Registration

21   No. 4,321,315 is pictured below:

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27   A true and correct copy of the registration certificate for the DESTINY & design mark is
                                                                                           focal PLLC
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                   Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 7 of 31




 1   attached hereto as Exhibit 5.

 2           28.     Bungie has expended considerable time and resources in marketing, advertising,

 3   promoting and distributing video games (and other goods and services) under the DESTINY

 4   Marks. Destiny 2, in connection with which the DESTINY Marks are used, has an estimated

 5   player base of more than 30 million players.

 6           29.     Bungie has developed substantial goodwill and strong consumer recognition in

 7   the DESTINY Marks, which have come to be uniquely associated with Bungie. As a result,

 8   Bungie has established strong rights in the DESTINY Marks, which are entitled to broad

 9   protection.

10                             Bungie’s Efforts to Combat Cheats and Hacks

11           30.     As an unfortunate consequence of the extraordinary popularity and longevity of

12   the Destiny franchise, Destiny 2 is under constant threat from those seeking to profit off of

13   Bungie’s success as well as cheaters who wish to gain an unfair advantage over other players by

14   selling “hacks” or “cheats”. To combat the actions of such unscrupulous individuals, Bungie

15   employs both contractual and technological measures.

16   A.      Bungie’s Limited Software License Agreement

17           31.     As for the contractual measures, in order to access, download, or play Destiny 2,

18   players must expressly agree to Bungie’s Limited Software License Agreement 1 (“SLA”). The

19   entire SLA is displayed to users at the time they install Destiny 2. If a user refuses to consent to

20   the SLA, the installation stops and the program closes.

21           32.     Destiny 2 is made available exclusively through Bungie’s proprietary servers and

22   matching systems. Access to the servers also requires agreement to the SLA. Therefore, a user

23   may not lawfully obtain access to or play Destiny 2 without expressly agreeing to the SLA.

24           33.     Bungie’s SLA includes a limited license agreement between Bungie and its users

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       1
        Bungie’s SLA is available at https://www.bungie.net/7/en/Legal/SLA. Bungie recently (as of
26   August 17, 2021) modified its SLA. However, the modified version does not differ materially from the
     version in effect prior to August 17, 2021 with respect to the relevant provisions discussed herein. A true
27   and correct copy of the SLA in effect prior to August 17, 2021 is attached hereto as Exhibit 6.
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 8 of 31




 1   under which users are licensed to install and use one copy of Destiny 2 for non-commercial

 2   purposes. This limited license is subject to a number of restrictions, including but not limited to

 3   the user’s agreement not to: (a) “exploit [Destiny 2] or any of its parts commercially”; (b) “copy,

 4   reproduce, distribute, display or use any part of [Destiny 2] except as expressly authorized by

 5   Bungie herein”; (c) “hack or modify [Destiny 2], or create, develop, modify, distribute, or use

 6   any unauthorized software programs to gain advantage in any online or multiplayer game

 7   modes”; and (d) “receive or provide ‘boosting services,’ to advance progress or achieve results

 8   that are not solely based on the account holder’s gameplay.”

 9   B.     Bungie’s Anti-Cheat Technologies

10          34.      As to the technological measures Bungie uses to combat cheats and hacks, a

11   general explanation of how online, multiplayer games operate is necessary.

12          35.      First, players must install the game software client on their computers. A software

13   client is a set of files that include artwork, 3D models, textures (i.e., artwork applied to surfaces),

14   “skins” (i.e., artwork applied to character models), and an underlying game engine that creates

15   the virtual environment and enables player interaction with the environment, NPCs, and other

16   players.

17          36.      Second, the software client must connect to a remote server (the game server)

18   owned and operated by or on behalf of the game publisher. The server runs software that

19   connects players to each other and generates the dynamic virtual world. The game server must

20   rapidly receive and transmit a vast amount of data among the players, and that data is used by the

21   software client to make changes on the player’s computer screen.

22          37.      Both components are integral to the operation of the game and the game cannot be

23   played without both the software client and the game server. Thus, the copyrights in an online,

24   multiplayer, shared world game extends to the dynamic virtual world created by the interactions

25   between software client and game server, as well as the specific art files and assets contained in

26   the software client.

27          38.      Bungie employs anti-cheat technologies both within the game software client and
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 9 of 31




 1   on Bungie’s servers. These technologies operate whenever the software client is running and

 2   must operate in order for users to play Destiny 2. These anti-cheat technologies are specifically

 3   designed to detect and/or prevent players from accessing, reading, writing, or modifying critical

 4   data used to enable multiplayer online gameplay.

 5          39.      In the ordinary course of operation, Bungie’s anti-cheat software is designed to

 6   detect whether malicious (e.g., unauthorized) code or data has been inserted into a computer’s

 7   memory or otherwise determine whether a Destiny 2 player is using cheating software such as

 8   Defendants’ Lavicheats. If the anti-cheat software detects the presence of such cheating software,

 9   the player may be denied access to Destiny 2’s multiplayer servers and/or reported to Bungie for

10   disciplinary action.

11          40.      With respect to the disciplinary action, when Bungie detects that a player is using

12   cheating software, the player’s account may be suspended or banned, in which case the player

13   may no longer access the game or Bungie’s Destiny 2 servers. Bungie may also implement a

14   “Hardware ID” (“HWID”) ban against a player using cheating software. To implement a HWID

15   ban, Bungie obtains configuration data from the player’s PC sufficient to uniquely identify the

16   PC and denies subsequent access to the game by players using that PC. An HWID ban detects

17   and prevents banned players from obtaining access to Destiny 2 merely by creating a new

18   account using a different email address or using another player’s account from the same PC.

19          41.      Because Bungie’s anti-cheat software is designed to detect when players are

20   running cheating software for Destiny 2, such cheating software is specifically designed to evade

21   detection by Bungie’s anti-cheat technologies. The cheat may accomplish such avoidance or

22   circumvention by concealing or encrypting itself or by disabling the anti-cheat software.

23          42.      Combatting the use of cheats or hacks in connection with Destiny 2 is an ongoing

24   battle. Developers and distributors of cheating software, like Defendants, are continuously

25   modifying the cheats or hacks in order to avoid detection by Bungie’s anti-cheat technologies.

26   That, in turn, requires Bungie to continuously expend substantial time and resources improving

27   and enhancing its anti-cheat technologies to protect the gameplay experience for legitimate
                                                                                         focal PLLC
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                   Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 10 of 31




 1   players.

 2                 Defendants’ Marketing, Distribution and Sale of Cheats and Hacks

 3           43.     Upon information and belief, Defendants are engaged in marketing, advertising,

 4   promoting, distributing, selling, and/or supporting cheats or hacks for use in connection with

 5   Destiny 2 (collectively, the “Lavicheats”). Upon information and belief, some of the Defendants

 6   own, operate, administer, and/or moderate the Lavicheats Website and its community forums

 7   while others provide customer support and/or technical assistance; some Defendants may do

 8   both.

 9           44.     The Lavicheats Website boasts “Next Level Cheating” and promotes Defendants’

10   Lavicheats as “the best Cheats and Hacks for all games.” In addition to cheats or hacks for

11   Destiny 2, Defendants offer cheating software for use in connection with numerous other games

12   from other game developers, including but not limited to Apex Legends, Overwatch, Call of

13   Duty, Rainbow Six, League of Legends, Fortnite, Rust, and Valorant, as shown below:

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25           45.     Upon information and belief, Defendants advertise, promote, distribute, sell,
26   and/or provide support for two cheat software packages for Destiny 2: “Delta” and “Premium”,
27   as shown on the “store” page for Destiny 2 on the Lavicheats Website:
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 11 of 31




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 7          46.      The prices for the “Destiny Delta” package range from $9.99 to $129, and the

 8   “Destiny Premium” package range from $19.90 to $249, as shown below:

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                   Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 12 of 31




 1          47.      Defendants’ Lavicheats for Destiny 2 offer a variety of features to purchasers,

 2   including but not limited to: (a) an “Aimbot” feature that automates aiming by allowing the

 3   cheating player to “snap” to a target and quickly take out other players (an action that would

 4   otherwise test the player’s skill); (b) “ESP” features that display information that would not

 5   ordinarily be visible to the player, such as the location of other players or NPCs in order to target

 6   and take out those players or NPCs more quickly than would be possible for legitimate players;

 7   (c) technologies that mask players’ use of the cheats while streaming their gameplay;

 8   (d) miscellaneous cheats that modify gameplay, such as providing unlimited ammo or instantly

 9   respawning the player’s character after it is killed; and (e) HWID Spoofers, which allow players

10   to hide information about their computer systems to avoid detection by anti-cheat technologies or

11   to use computers that have been banned by Bungie (i.e., that no longer have authorized access to

12   Destiny 2).

13          48.      Emphasizing that the “best ways” to “get ahead” in games like Destiny 2 are “the

14   ones that won’t get you caught,” the Lavicheats Website describes the typical features of these

15   cheats (and again highlights how to avoid “getting caught and banned”):

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25          49.      Offering purchasers of Defendants’ Lavicheats for Destiny 2 the ability to remain

26   undetected while using the cheats is an essential selling point of the cheating software. For

27   example, on the Lavicheats Website, Defendants tout their offering of the “Best Undetected
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 13 of 31




 1   Destiny 2 hacks and cheats”. Defendants promote the Lavicheats for Destiny 2 as “Undetected”,

 2   emphasize that the best cheats (including Lavicheats) offer “quality code that will slide through

 3   undetected during gameplay”, and then offer an “Order Now” button for the “Hack” download,

 4   as shown in the following excerpted article from the Lavicheats Website:

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25          50.      Defendants’ Lavicheats for Destiny 2 also includes features specifically designed
26   to aid the cheater in avoiding detection by Bungie. For example, the graphical elements of the
27   Lavicheats for Destiny 2 can be disabled to hide use of the cheats while players are streaming
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 14 of 31




 1   their gameplay. Similarly, the “smoothing” feature modifies Aimbot in order to mask the fact

 2   that the cheater is auto-aiming via the cheating software. In fact, at the end of the same article on

 3   the Lavicheats Website excerpted immediately above, Defendants specifically call out Bungie’s

 4   anti-cheat measures and appear to contrast the “low quality, free hacks that are floating around”

 5   with the purportedly high-quality, “undetected” Lavicheats offered by Defendants for Destiny 2:

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10          51.      In fact, remaining undetected is so vital to the success of Defendants’ Lavicheats

11   for Destiny 2—and therefore to Defendants’ ability to reap profits from their unlawful

12   activities—that Defendants maintain a “Status Page” that notifies users whether a Lavicheat is

13   “Safe to Use” (i.e., “Working”):

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26          52.      Additionally, in marketing, promoting, selling, and/or distributing Lavicheats for
27   Destiny 2, Defendants prominently feature the DESTINY Marks, as well as images and artwork
                                                                                          focal PLLC
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 15 of 31




 1   from Destiny 2.

 2          53.      For example, the “store” pages for Defendants’ Lavicheats for Destiny 2

 3   prominently display the DESTINY Marks and artwork from Destiny 2 in close proximity to an

 4   “Add to cart” button to purchase the cheats, as shown below:

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21                         Players’ Use of Defendants’ Lavicheats for Destiny 2
22          54.      Upon information and belief, Defendants’ Lavicheats for Destiny 2 are distributed
23   via a loader program obtained from a remote server maintained by or otherwise accessible to
24   Defendants. After purchasing one of the Lavicheats Destiny 2 cheat packages, the loader
25   prompts the purchaser for a login and validates the Lavicheats license.
26          55.      Upon information and belief, after the Lavicheats license is verified, the loader
27   “injects” the malicious cheating software code into the Destiny 2 software client on the player’s
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 16 of 31




 1   computer. This code modifies the behavior of the Destiny 2 software client and thereby causes

 2   the software to operate and appear differently for the cheating player than it does for the non-

 3   cheating player. These modifications are created with the intent and effect of providing the

 4   cheating player with a comparative—and unfair—advantage over the non-cheating player.

 5          56.      For example, Defendants’ Lavicheats create a user interface that allows the

 6   cheating players to select which features of Destiny 2 they want to alter (i.e., cheat or hack) as

 7   well as features that mask their use of the cheat, as shown below:

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21          57.      When players run Defendants’ Lavicheats for Destiny 2 while playing the game,

22   the cheat substantially alters Destiny 2’s visual output and the way the game performs for the

23   cheating player.

24          58.      As a result of these modifications made by Defendants’ Lavicheats, Destiny 2

25   appears significantly different for the cheating player using the cheat than it does for legitimate

26   players. For example, when a player is using Lavicheats, additional text, numbers, images, and

27   angle/directional arrows may be displayed on the player’s screen; the colors in which other
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 17 of 31




 1   players’ characters appear may be changed; “hit boxes” and different types of “cross-hairs” may

 2   be used; and other players’ characters may appear as outlines behind walls and other

 3   obstructions.

 4          59.      Additionally, Defendants’ Lavicheats for Destiny 2 will cause the game to

 5   perform differently for the cheating player in significant ways that provide unfair advantages as

 6   against legitimate, non-cheating players. For example, the Aimbot cheat relieves the cheating

 7   player of the need to aim at a target, as it automatically “snaps” to a target and auto fires, and

 8   even permits the player to specify which part of the body to automatically target (e.g., head,

 9   body, etc.). Also, when Defendants’ Lavicheats is being used, the cheating players may have

10   unlimited ammo (and therefore have no need to reload their weapons or collect additional

11   ammunition) or may instantly “respawn” after they are killed.

12          60.      Each time a player plays Destiny 2 while using Defendants’ Lavicheats, she or he

13   also violates Bungie’s SLA including, among others, those provisions prohibiting “hack[ing] or

14   modify[ing] [Destiny 2],” or “us[ing] any unauthorized software programs to gain advantage in

15   any online or multiplayer game modes”, and “receiv[ing] ‘boosting services,’ to advance

16   progress or achieve results that are not solely based on the account holder’s gameplay.” Upon

17   information and belief, thousands of breaches of Bungie’s SLA have occurred as a direct result

18   of Defendants’ activities.

19          61.      Upon information and belief, Defendants at all relevant times have been and are

20   aware that the use of cheating software or hacks—including Defendants’ Lavicheats for

21   Destiny 2—are prohibited by, and therefore violate, Bungie’s SLA. Defendants’ emphasis in

22   marketing and promoting their Lavicheats of the alleged undetectability of their cheats and their

23   references to bans for players caught cheating—including referencing bans by Bungie

24   specifically—are admissions that Defendants are aware that players using Lavicheats with

25   Destiny 2 are violating their agreement (i.e., the SLA) with Bungie.

26       Lavicheats for Destiny 2 Cause Serious, Irreparable, and Ongoing Harm to Bungie

27          62.      Defendants’ activities described herein have caused, and are continuing to cause,
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 18 of 31




 1   serious, irreparable, and ongoing harm to Bungie and the Destiny 2 community, including but

 2   not limited to the following:

 3                    (a)    Defendants significantly and irreparably harm the ability of legitimate

 4   players of Destiny 2 to experience and enjoy the online, multiplayer shared-world experience

 5   meticulously created by Bungie, including the gameplay skills developed by legitimate players;

 6                    (b)    As a result, in part, of the first harm, Defendants’ activities cause

 7   significant harm to Bungie’s reputation and the goodwill Bungie has developed amongst the

 8   Destiny 2 community, impacting the growth of Destiny 2’s player base, and harming Bungie to a

 9   degree difficult or impossible to recompense solely with money damages; and

10                    (c)    As a consequence of the arms-race that exists between Bungie and cheats-

11   sellers like Defendants, Bungie is forced to spend substantial sums of money and redirect

12   significant resources to remediate the injuries caused by Defendants’ Lavicheats for Destiny 2.

13   These efforts include, but are not limited to, continually modifying Destiny 2 and/or the anti-

14   cheat technologies to detect and combat the ever-changing cheats and hacks, investigating and

15   banning players who use Lavicheats, and responding to the complaints of legitimate players

16   whose Destiny 2 experience is devalued by the use of Lavicheats by other players.

17          63.       These harms resulting from Defendants’ activities described herein will continue

18   to be inflicted on Bungie unless and until Defendants are preliminarily and permanently enjoined

19   as requested in this action.

20                                      FIRST CAUSE OF ACTION

21                    (Trafficking in Circumvention Devices, 17 U.S.C. § 1201(a)(2))

22          64.       Bungie realleges and incorporates by reference all of the allegations set forth in

23   the preceding paragraphs as if fully set forth herein.

24          65.       Destiny 2, including but not limited to the underlying source code, screen

25   displays, artwork, and other audiovisual elements, are copyrighted works under the laws of the

26   United States.

27          66.       Bungie has designed and implemented technological measures into Destiny 2 that
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 19 of 31




 1   effectively control access to the game, including access to the dynamic audiovisual elements that

 2   comprise the game’s virtual world and to otherwise inaccessible memory locations in which data

 3   generated by Destiny 2 is stored.

 4          67.      Defendants’ Lavicheats for Destiny 2 are comprised of or contain technologies,

 5   products, services, devices, components, or parts thereof that are primarily designed or produced

 6   for the purpose of circumventing Bungie’s technological measures that effectively control access

 7   to Destiny 2, a copyrighted work protected under the Copyright Act.

 8          68.      Defendants’ Lavicheats for Destiny 2 have no commercially significant purpose

 9   or use other than to circumvent Bungie’s technological measures that effectively control access

10   to Destiny 2, a copyrighted work protected under the Copyright Act.

11          69.      Defendants, and/or other persons or entities acting in concert with Defendants

12   with their knowledge, market the Lavicheats for Destiny 2 for use in circumventing Bungie’s

13   technological measures that effectively control access to Destiny 2, a copyrighted work protected

14   under the Copyright Act.

15          70.      As a result of the foregoing, Defendants are importing, offering to the public,

16   providing, or otherwise trafficking in a technology, product, service, device, component, or part

17   thereof that violates 17 U.S.C. § 1201(a)(2).

18          71.      Each such import, offering to the public, providing, or otherwise trafficking in

19   circumvention technology constitutes a violation of 17 U.S.C. § 1201(a)(2).

20          72.      Defendants’ actions are willful, intentional, purposeful, and in disregard of the

21   rights of Bungie.

22          73.      Defendants’ actions have caused damage to Bungie and has unjustly enriched

23   Defendants, in amounts to be proven at trial.

24          74.      Bungie is entitled to the maximum statutory damages in the amount of $2,500 per

25   violation pursuant to 17 U.S.C. § 1203(c)(3)(A). Alternatively, Bungie is entitled to its actual

26   damages and Defendants’ profits attributable to their violations of 17 U.S.C. § 1201 pursuant to

27   17 U.S.C. § 1203(c)(1), (2).
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 20 of 31




 1          75.      As a result of Defendants’ actions described herein, Bungie has suffered, and will

 2   continue to suffer, irreparable injury for which there is no adequate remedy at law. Upon

 3   information and belief, unless enjoined by this Court, Defendants will continue their unlawful

 4   activities in violation of 17 U.S.C. § 1201. Bungie, therefore, is entitled to injunctive relief to

 5   enjoin Defendants’ ongoing unlawful conduct pursuant to 17 U.S.C. § 1203(b).

 6          76.      Bungie is further entitled to its attorneys’ fees and costs of this action pursuant to

 7   17 U.S.C. § 1203(b).

 8                                    SECOND CAUSE OF ACTION

 9                   (Contributory Copyright Infringement, 17 U.S.C. § 101 et seq.)

10          77.      Bungie realleges and incorporates by reference all of the allegations set forth in

11   the preceding paragraphs as if fully set forth herein.

12          78.      Destiny 2, including the underlying source code, client files, screen displays,

13   artwork, and other audiovisual elements, constitutes an original work of authorship and

14   copyrightable subject matter under the laws of the United States.

15          79.      Bungie is the owner of, or has exclusive rights in, the copyrights in Destiny 2.

16          80.      Users of Defendants’ Lavicheats for Destiny 2 have copied, reproduced, adapted,

17   and/or created derivative works from, and continue to copy, reproduce, adapt, and/or create

18   derivative works from, Bungie’s copyrighted work, Destiny 2, without Bungie’s consent. The

19   foregoing activities constitute direct infringement of Bungie’s exclusive rights by Lavicheats’

20   users in violation of the Copyright Act, 17 U.S.C. §§ 106 and 501.

21          81.      Defendants are liable as contributory copyright infringers because they

22   intentionally induced, and continue to induce, the direct infringement of the Lavicheats users as

23   described herein. Among other actions, Defendants induce users of Defendants’ Lavicheats for

24   Destiny 2 to copy, reproduce, adapt, and/or create derivative works from Bungie’s copyrighted

25   works because when Lavicheats users download, install, and use the cheating software, they alter

26   the gameplay and presentation of Destiny 2.

27          82.      Defendants are also liable as contributory copyright infringers because they know
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 21 of 31




 1   of, and materially contribute to, the direct infringement of Lavicheats users as described herein.

 2   Among other activities, Defendants materially contribute to the direct infringement of Destiny 2

 3   by selling, distributing, or otherwise making available the Lavicheats for Destiny 2, instructing

 4   users on how to install and use the Lavicheats, providing support services for installation and use

 5   of the Lavicheats for Destiny 2, and otherwise enabling users to use the Lavicheats for Destiny 2

 6   to copy, reproduce, adapt, and/or create derivative works from Bungie’s copyrighted works.

 7          83.      Defendants’ actions were and are intentional, willful, wanton, and performed in

 8   disregard of Bungie’s rights.

 9          84.      Bungie is entitled to injunctive relief pursuant to 17 U.S.C. § 502. Bungie has no

10   adequate remedy at law for Defendants’ wrongful conduct because, among other things,

11   (a) Bungie’s copyrights are unique and valuable property which have no readily determinable

12   market value, (b) Defendants’ continued infringement harms Bungie such that Bungie could not

13   be made whole by any monetary award, and (c) Defendants’ wrongful conduct, and the resulting

14   damage to Bungie, is continuing.

15          85.      Bungie has been and will continue to be damaged, and Defendants have been

16   unjustly enriched, by Defendants’ unlawful infringement of Bungie’s copyrighted works. Bungie

17   is entitled to its actual damages and Defendants’ profits, in amounts to be proven at trial,

18   pursuant to 17 U.S.C. § 504(b).

19          86.      Alternatively, Bungie is entitled to the maximum statutory damages of $150,000

20   per infringed work for willful infringement pursuant to 17 U.S.C. § 504(c)(2).

21          87.      Bungie is also entitled to recover its attorneys’ fees and costs of suit pursuant to

22   17 U.S.C. § 505.

23                                     THIRD CAUSE OF ACTION

24                      (Vicarious Copyright Infringement, 17 U.S.C. § 101 et seq.)

25          88.      Bungie realleges and incorporates by reference all of the allegations set forth in

26   the preceding paragraphs as if fully set forth herein.

27          89.      Destiny 2, including the underlying source code, client files, screen displays,
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 22 of 31




 1   artwork, and other audiovisual elements, constitute original works of authorship and

 2   copyrightable subject matter under the laws of the United States.

 3          90.      Bungie is the owner of, or has exclusive rights in, the copyrights in Destiny 2.

 4          91.      Users of Defendants’ Lavicheats for Destiny 2 have copied, reproduced, adapted,

 5   and/or created derivative works from, and continue to copy, reproduce, adapt, and/or create

 6   derivative works from, Bungie’s copyrighted work, Destiny 2, without Bungie’s consent. The

 7   foregoing activities constitute direct infringement of Bungie’s exclusive rights by Lavicheats’

 8   users in violation of the Copyright Act, 17 U.S.C. §§ 106 and 501.

 9          92.      Defendants are liable as vicarious copyright infringers because they have the right

10   and ability to supervise and control the infringing activities that occur as a result of users’

11   download, installation, and/or use of Defendants’ Lavicheats and, at all relevant times, have

12   derived direct and substantial financial benefits from the direct infringement of the Lavicheats

13   users. Nonetheless, Defendants refused, and continue to refuse, to take reasonably available steps

14   to stop the infringement. To the contrary, Defendants take active steps to encourage and facilitate

15   the infringement by providing support and advice regarding the download, installation, and use

16   of the Lavicheats to avoid detection by Bungie. Defendants’ entire business model is based on

17   encouraging and facilitating the infringements by Lavicheats users.

18          93.      As a result, Defendants are vicariously liable for the direct infringement by

19   Lavicheats users as described herein.

20          94.      Defendants’ actions were and are intentional, willful, wanton, and performed in

21   disregard of Bungie’s rights.

22          95.      Bungie is entitled to injunctive relief pursuant to 17 U.S.C. § 502. Bungie has no

23   adequate remedy at law for Defendants’ wrongful conduct because, among other things,

24   (a) Bungie’s copyrights are unique and valuable property which have no readily determinable

25   market value, (b) Defendants’ continued infringement harms Bungie such that Bungie could not

26   be made whole by any monetary award, and (c) Defendants’ wrongful conduct, and the resulting

27   damage to Bungie, is continuing.
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                   Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 23 of 31




 1          96.      Bungie has been and will continue to be damaged, and Defendants have been

 2   unjustly enriched, by Defendants’ unlawful infringement of Bungie’s copyrighted works. Bungie

 3   is entitled to its actual damages and Defendants’ profits, in amounts to be proven at trial,

 4   pursuant to 17 U.S.C. § 504(b).

 5          97.      Alternatively, Bungie is entitled to the maximum statutory damages of $150,000

 6   per infringed work for willful infringement pursuant to 17 U.S.C. § 504(c)(2).

 7          98.      Bungie is also entitled to recover its attorneys’ fees and costs of suit pursuant to

 8   17 U.S.C. § 505.

 9                                     FOURTH CAUSE OF ACTION

10                              (Trademark Infringement, 15 U.S.C. § 1114)

11          99.      Bungie realleges and incorporates by reference all of the allegations set forth in

12   the preceding paragraphs as if fully set forth herein.

13          100.     Bungie is the owner of the federally registered DESTINY & design mark, U.S.

14   Reg. No. 4,321,315.

15          101.     Defendants’ use of the DESTINY & design mark in the marketing, advertising,

16   promotion and sale of, or otherwise in connection with, Defendants’ Lavicheats for Destiny 2, is

17   likely to cause confusion or mistake, or deception as to the source, origin, affiliation, or

18   endorsement of Defendants’ Lavicheats.

19          102.     Defendants’ use of the DESTINY & design mark as described herein constitutes

20   infringement of Bungie’s trademark rights in its registered mark under 15 U.S.C. § 1114.

21          103.     Bungie has been, and continues to be, irreparably damaged by the actions of

22   Defendants alleged herein in a manner that cannot be fully measured or compensated in

23   monetary damages and for which there is no adequate remedy at law. Bungie is therefore entitled

24   to preliminary and permanent injunctive relief under 15 U.S.C. § 1116 restraining and enjoining

25   Defendants, and their agents, employees, and all persons acting in concert with them or on their

26   behalf, from using in commerce Bungie’s DESTINY & design mark or any colorable imitation

27   thereof.
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                   Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 24 of 31




 1          104.     Defendants’ conduct and continuation of such conduct is knowing, willful and

 2   deliberate, and in conscious disregard of Bungie’s rights in and to the DESTINY & design mark,

 3   making this an exceptional case within the meaning of 15 U.S.C. § 1117(a) and entitling Bungie

 4   to an award of its reasonable attorneys’ fees.

 5          105.     Bungie is entitled to the relief provided in 15 U.S.C. § 1117(a), including but not

 6   limited to, Bungie’s actual damages (which should be trebled), Defendants’ profits, and the costs

 7   of this action in amounts to be proven at trial.

 8                                     FIFTH CAUSE OF ACTION

 9             (False Designation of Origin and Unfair Competition, 15 U.S.C. § 1125(a))

10          106.     Bungie realleges and incorporates by reference all of the allegations set forth in

11   the preceding paragraphs as if fully set forth herein.

12          107.     As a result of Bungie’s extensive and continuous use in commerce of its

13   DESTINY Marks in connection with the Destiny franchise, Bungie has established significant

14   consumer recognition of, and rights to, its DESTINY Marks.

15          108.     Defendants’ use of the DESTINY Marks in the marketing, advertising, promotion

16   and sale of, or otherwise in connection with, the Lavicheats for Destiny 2, constitutes false

17   designation of origin and unfair competition under 15 U.S.C. § 1125(a) that is likely to cause

18   confusion, mistake, or deception as to (a) the affiliation, connection or association of Defendants

19   with Bungie, and/or (b) the origin, sponsorship or approval of Defendants’ Lavicheats by

20   Bungie.

21          109.     Bungie has been, and continues to be, irreparably damaged by the actions of

22   Defendants alleged herein in a manner that cannot be fully measured or compensated in

23   monetary damages and for which there is no adequate remedy at law. Bungie is therefore entitled

24   to preliminary and permanent injunctive relief under 15 U.S.C. § 1116 restraining and enjoining

25   Defendants, and their agents, employees, and all persons acting in concert with them or on their

26   behalf, from using in commerce Bungie’s DESTINY Marks or any colorable imitation thereof.

27          110.     Defendants’ conduct and continuation of such conduct is knowing, willful and
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                   Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 25 of 31




 1   deliberate, and in conscious disregard of Bungie’s rights in and to the DESTINY Marks, making

 2   this an exceptional case within the meaning of 15 U.S.C. § 1117(a) and entitling Bungie to an

 3   award of its reasonable attorneys’ fees.

 4          111.     Bungie is entitled to the relief provided in 15 U.S.C. § 1117(a), including but not

 5   limited to, Bungie’s actual damages (which should be trebled), Defendants’ profits, and the costs

 6   of this action in amounts to be proven at trial.

 7                                     SIXTH CAUSE OF ACTION

 8              (Violation of Washington Consumer Protection Act, RCW 19.86 et seq.)

 9          112.     Bungie realleges and incorporates by reference all of the allegations set forth in

10   the preceding paragraphs as if fully set forth herein.

11          113.     Defendants’ activities described herein, including but not limited to Defendants’

12   interference with Bungie’s contractual relationships with its users, exploitation of Bungie’s

13   intellectual property to unjustly enrich themselves at Bungie’s expense, and unauthorized use of

14   Bungie’s trademarks, constitute unfair methods of competition and unfair and deceptive acts or

15   practices, which are damaging to the public interest in violation of RCW 19.86.020.

16          114.     Defendants’ unfair methods of competition and unfair and deceptive acts or

17   practices occur in the context of Defendants’ regularly conducted business or business practices.

18          115.     Defendants’ activities described herein have injured, and will continue to cause

19   injury to, Bungie in its business or property, including the loss of sales, users, and goodwill.

20          116.     Defendants’ actions contravene the public interest since there is a strong public

21   interest in having a marketplace free from deceptive acts and practices. Additionally, upon

22   information and belief, Defendants offer more than 15 different video game cheats spanning

23   multiple game franchises from other developers, including but not limited to Apex Legends,

24   Overwatch, Call of Duty, Rainbow Six, League of Legends, Fortnite, Rust, and Valorant. As a

25   result, Defendants’ actions described herein have the capacity to deceive substantial portions of

26   the public, including but not limited to players of Destiny 2 and any other games for which

27   Defendants market, promote, distribute, or sell cheats or hacks.
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                   Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 26 of 31




 1          117.     Defendants’ actions further contravene the public interest since there is a strong

 2   public interest in computer security and safety. Upon information and belief, Defendants’ cheat

 3   software products induce users to disable antivirus and other protective measures and obtain low-

 4   level access to system resources that can transform unwitting users’ personal computers into

 5   proxies for illegal activity and/or render them vulnerable to malicious software.

 6          118.     As a result of Defendants’ unfair methods of competition and unfair and deceptive

 7   acts or practices, Bungie has been damaged in an amount to be proven at trial and Bungie will

 8   continue to be irreparably damaged if Defendants’ wrongful conduct is permitted to continue.

 9          119.     Pursuant to RCW 19.86.090, Bungie is entitled to its actual damages, which

10   should be trebled, together with its costs of suit and reasonable attorneys’ fees, and an injunction

11   restraining Defendants’ unfair business practices.

12                                    SEVENTH CAUSE OF ACTION

13                        (Tortious Interference With Contractual Relationship)

14          120.     Bungie realleges and incorporates by reference all of the allegations set forth in

15   the preceding paragraphs as if fully set forth herein.

16          121.     As described herein, at all relevant times, in order to install and play Destiny 2,

17   users must first agree to Bungie’s SLA.

18          122.     Bungie’s agreements with its users are valid and enforceable.

19          123.     Each time a user of Defendants’ Lavicheats uses the cheats in connection with

20   Destiny 2, she or he breaches Bungie’s SLA. Upon information and belief, thousands of such

21   breaches of the SLA by Defendants’ customers have occurred.

22          124.     Upon information and belief, at all relevant times, Defendants were and are aware

23   of the existence and relevant terms of the SLA between Bungie and its users, including but not

24   limited to those terms prohibiting players from using Defendants’ Lavicheats and other such

25   cheats and hacks in connection with Destiny 2 and that players risk being banned if caught using

26   such cheats and hacks.

27          125.     Upon information and belief, despite this knowledge, Defendants have
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                   Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 27 of 31




 1   intentionally encouraged, induced, and assisted the purchase, download, installation, and use of

 2   the Lavicheats for Destiny 2, knowing that the use of Defendants’ Lavicheats by their customers

 3   is a breach of those customers’ agreement with Bungie.

 4          126.     Upon information and belief, Defendants’ interference with Bungie’s agreement

 5   with its users as described herein was accomplished for an improper purpose and the means used

 6   were wrongful and predatory in nature.

 7          127.     By inducing, encouraging and assisting Bungie’s users to breach their agreement

 8   with Bungie, Defendants have intentionally interfered, and continue to interfere, with the

 9   agreements between Bungie and its players.

10          128.     As a proximate result of Defendants’ actions described herein, Bungie has

11   suffered damages in amounts to be proven at trial, including but not limited to the loss of

12   goodwill among Bungie’s players, diversion of Bungie’s resources to the detection, prevention,

13   and remediation of Defendants’ Lavicheats for Destiny 2, decreased profits, and a loss of profits

14   from players whose accounts Bungie has terminated for violation of the SLA.

15          129.     Defendants have further unjustly obtained proceeds attributable to the sale of the

16   Lavicheats for Destiny 2 in the United States, and any other products or services that violate any

17   of Bungie’s rights described herein. Those proceeds, which are directly attributable to

18   Defendants’ misuse and unlawful exploitation of Bungie’s Destiny 2 game and intentional

19   interference with Bungie’s agreements with its players, rightfully and equitably belong to

20   Bungie.

21          130.     Bungie has been, and continues to be, irreparably damaged by the actions of

22   Defendants alleged herein in a manner that cannot be fully measured or compensated in

23   monetary damages and for which there is no adequate remedy at law. Bungie is therefore entitled

24   to preliminary and permanent injunctive relief restraining and enjoining Defendants, and their

25   agents, employees, and all persons acting in concert with them or on their behalf, from

26   interfering with the agreements between Bungie and its users, as well as imposition of a

27   constructive trust over Defendants’ wrongfully obtained proceeds.
                                                                                         focal PLLC
       COMPLAINT                                                                   900 1st Ave. S., Suite 201
       (Case No. 2:21-cv-1111) – 27                                               Seattle, Washington 98134
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                                                                                       fax (206) 260-3966
                    Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 28 of 31




 1                                     EIGHTH CAUSE OF ACTION

 2                                           (Unjust Enrichment)

 3           131.     Bungie realleges and incorporates by reference all of the allegations set forth in

 4   the preceding paragraphs as if fully set forth herein.

 5           132.     Defendants’ activities as alleged herein constitute unjust enrichment of the

 6   Defendants at the expense of Bungie.

 7           133.     Defendants have received, and continue to receive a monetary benefit from

 8   Bungie’s Destiny 2 players that purchase Defendants’ Lavicheats and the corresponding

 9   inequitable exploitation of Bungie’s property, namely, Destiny 2 and the servers on which it

10   runs.

11           134.     Defendants received, and continue to receive, this benefit at Bungie’s expense.

12           135.     Under the circumstances, it would be unjust for Defendants to retain the benefit

13   and as a result, Bungie seeks an accounting and disgorgement of Defendants’ ill-gotten profits in

14   amounts to be proved at trial.

15                                         PRAYER FOR RELIEF

16           WHEREFORE, Bungie respectfully requests that judgment be entered in its favor on

17   each of the claims stated herein and against Defendants, and that it be awarded relief that

18   includes, but is not limited to, an order:

19           1.       Preliminarily and permanently enjoining Defendants, their officers, employees,

20   agents, representatives, subsidiaries, affiliates, distributors, and all persons or entities acting in

21   concert with them, from:

22                    A.     importing, offering to the public, marketing, selling, providing,

23   distributing or otherwise trafficking in circumvention technology, including but not limited to the

24   Lavicheats for Destiny 2;

25                    B.     inducing, contributing to, or facilitating third-party infringements of

26   Bungie’s copyrighted works;

27                    C.     infringing Bungie’s registered and common law trademarks or falsely
                                                                                             focal PLLC
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       (Case No. 2:21-cv-1111) – 28                                                   Seattle, Washington 98134
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                 Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 29 of 31




 1   representing or suggesting Bungie’s approval, sponsorship, or endorsement, or otherwise

 2   suggesting Bungie’s affiliation with Defendants or Defendants’ Lavicheats for Destiny 2;

 3                   D.      intentionally interfering with Bungie’s agreements with its Destiny 2

 4   players; and

 5                   E.      engaging in unfair methods of competition and unfair and deceptive acts

 6   or practices with respect to Bungie;

 7          2.       Requiring Defendants to immediately and permanently cease all development,

 8   marketing, promotion, advertising, support, distribution, or other similar action of the Lavicheats

 9   for Destiny 2 on the Lavicheats Website and any other domain, address, location or platform;

10          3.       Requiring Defendants to deliver to Bungie all copies of materials that have been

11   made or used in violation of any of Bungie’s rights described herein;

12          4.       Requiring the destruction of all technology, devices, products, components, or

13   parts thereof involved in the violation of 17 U.S.C. § 1201 that are in the custody or control of

14   Defendants and/or which may be impounded by the Court pursuant to 17 U.S.C. § 1203(b);

15          5.       Requiring Defendants to provide Bungie an accounting of all sales of the

16   Lavicheats for Destiny 2 in the United States and any other products or services that are

17   determined to violate any of Bungie’s rights described herein;

18          6.       Awarding Bungie its actual damages as well as Defendants’ profits from

19   Defendants’ violations of 17 U.S.C. § 1201 pursuant to 17 U.S.C. § 1203(c)(1) and (2), or,

20   alternatively, awarding Bungie maximum statutory damages of $2,500 per violation of

21   17 U.S.C. § 1201 pursuant to 17 U.S.C. § 1203(c)(3);

22          7.       Awarding Bungie its actual damages and Defendants’ profits attributable to the

23   infringement of Bungie’s copyrighted works pursuant to 17 U.S.C. § 504(b), or, alternatively,

24   maximum statutory damages of $150,000 per infringed work for willful copyright infringement

25   pursuant to 17 U.S.C. § 504(c);

26          8.       Awarding Bungie its actual damages—which should be trebled—and Defendants’

27   profits for Defendants’ trademark infringement and false designation of origin and unfair
                                                                                         focal PLLC
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                  Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 30 of 31




 1   competition under the Lanham Act, and Defendants’ violations of the Washington Consumer

 2   Protection Act pursuant to, respectively, 15 U.S.C. § 1117 and RCW 19.86.090;

 3          9.       Awarding Bungie its damages against Defendants on Bungie’s claims for tortious

 4   interference with contractual relations and unjust enrichment;

 5          10.      Imposing a constructive trust over the proceeds unjustly obtained by Defendants

 6   through the sales of the Lavicheats for Destiny 2 in the United States and any other products or

 7   services that are determined to violate any of Bungie’s rights described herein;

 8          11.      Awarding Bungie its full costs of suit, including but not limited to, reasonable

 9   attorneys’ fees, as permitted by law;

10          12.      Awarding prejudgment interest as permitted by law; and

11          13.      Such other relief as the Court deems just and proper.

12   Dated this 18th day of August, 2021.              Respectfully submitted,

13                                                     FOCAL PLLC

14                                                By: s/ Stacia N. Lay
15                                                    s/ Venkat Balasubramani
                                                      Stacia N. Lay, WSBA #30594
16                                                    Venkat Balasubramani, WSBA #28269
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                                                  Attorneys for Plaintiff Bungie, Inc.
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                 Case 2:21-cv-01111 Document 1 Filed 08/18/21 Page 31 of 31




 1                                     DEMAND FOR JURY TRIAL

 2           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff Bungie, Inc.

 3   demands trial by jury in this action of all issues so triable.

 4   DATED: August 18, 2021                              s/ Stacia N. Lay
                                                         Stacia N. Lay, WSBA #30594
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                                                                                        focal PLLC
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